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                        EXHIBIT 69
                                Service HagueDocument
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         Subject: Service Hague Action - Paris/Brown - 1:24-CV-00648-AA
         From: Arnaud Paris <arnaud@skyvr.com>
         Date: 17/04/2024 23:57
         To: Heidi Paris <heidimparis@gmail.com>

         Heidi, since you're refusing to disclose your address you're leaving me no other way but by
         email to serve you this Hague Action that was filed in Medford District court yesterday under
         case 1:24-CV-00648-AA as a result of your wrongful removal of our children from France during
         your visitation time where they lived with me under full custody per the French Judgment of
         April 21st 2023 and that you took illegally violating the French judgment from August 25th
         2023 that forbid you to take them outside of France.
         I will also ask the Federal court to also have also a cause emergency order issued along with
         extra service from the US Marshall. I urge you to re-establish a proper and unsupervised
         channel of communication between me and the children by giving them back their apple watch and
         their ipad that allowed them to contact me directly.
         In the interest of our children I'm willing to continue the mediation we started in France
         before you abducted them to de-escalate this matter if you agree to return immediately the
         children to France. As part of this mediation you would still be able to obtain shared
         parenting time including the right to take the children to Oregon during vacation time as I
         had previously offered numerous times.
         If you decline my offer and want to pursue in these Hague proceedings please provide me with
         the name of your Hague lawyer in this matter.
         Regards,
         Arnaud Paris



         -Attachments:-------------------------------

           Petition for Return AprillS.pdf                                                      476 KB
           EXHIBIT01-CertTranslationFrenchJudgment_April21.pdf                                  3.6 MB
           EXHI BIT02-CertifiedTrans lationFrenchJ udg mentAugust2 5.pdf                        473 KB
           EXHIBIT03-EmailHeidiApril 13 .pdf                                                   84.4 KB
           EXHIBIT04-240415 PARIS Formulaire de retour EN.pdf                                   414 KB




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